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                                    Pg 1 of 9




                      EXHIBIT Q
N.Y.S. DEPARTMENT OF STATE
DIVISION 21-11298-lgb Doc 24-17
          OF CORPORATIONS       FiledRECORDS
                          AND STATE   08/19/21   Entered 08/19/21
                                                         ALBANY, 15:22:12 Exhibit Q
                                                                  NY 12231-0001
                                         Pg 2 of 9
                                  ONLINE FILING RECEIPT
=============================================================================

ENTITY NAME: 286 RIDER AVE ACQUISITION LLC

DOCUMENT TYPE: ARTICLES OF ORGANIZATION (DOM. LLC)              COUNTY: KING
=============================================================================

FILED:01/22/2019 DURATION:********** CASH#:190122010188 FILE#:190122010188
                                        DOS ID:5479162

   FILER:                                                         EXIST DATE
   ------                                                         ----------
   USACORP INC.                                                   01/22/2019
   325 DIVISION AVE
   STE 201
   BROOKLYN, NY 11211

   ADDRESS FOR PROCESS:
   --------------------
   286 RIDER AVE ACQUISITION LLC
   679 DRIGGS AVE
   BROOKLYN, NY 11211

   REGISTERED AGENT:
   -----------------




   The limited liability company is required to file a Biennial Statement with the
   Department of State every two years pursuant to Limited Liability Company Law
   Section 301. Notification that the Biennial Statement is due will only be made via
   email. Please go to www.email.ebiennial.dos.ny.gov to provide an email address to
   receive an email notification when the Biennial Statement is due.
=============================================================================
SERVICE COMPANY: USACORP-RW
SERVICE CODE: RW

FEE:             210.00                                  PAYMENTS     210.00
               ----------                                           --------
FILING:          200.00                                  CHARGE         0.00
TAX:               0.00                                  DRAWDOWN     210.00
PLAIN COPY:        0.00
CERT COPY:        10.00
CERT OF EXIST:     0.00
============================================================================
28RIAVAC                                                 DOS-1025 (04/2007)

Authentication Number: 1901220270 To verify the authenticity of this document you
may access the Division of Corporation’s Document Authentication Website at
http://ecorp.dos.ny.gov
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                                                Pg 3 of 9




                            STATE OF NEW YORK


                         DEPARTMENT OF STATE



        I hereby certify that the annexed copy has been compared with the
original document in the custody of the Secretary of State and that the same
is true copy of said original.




                                                     WITNESS my hand and official seal of the
                                                     Department of State, at the City of Albany, on
                            OA
 :&/                                                 January 22, 2019.

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 ••ft                                               Whitney Clark
   '••f^£NT C>V                                     Deputy Secretary of State




Rev. 06/07
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                                    ARTICLES OF ORGANIZATION
                                                              OF
                                      286 Rider Ave Acquisition LLC
                                      Under Section 203 of the Limited Liability Company Law




          FIRST:              The name of the limited liability company is:

                                              286 Rider Ave Acquisition LLC


          SECOND:             The county, within this state, in which the office of the limited liability company is to be
                              located is KINGS.


          THIRD:              The Secretary of State is designated as agent of the limited liability company upon whom
                              process against it may be served. The address within or without this state to which the
                              Secretary of State shall mail a copy of any process against the limited liability company
                              served upon him or her is:


                              286 Rider Ave Acquisition LLC
                              679 Driggs Ave
                              Brooklyn, NY 11211

          I certify that I have read the above statements, I am authorized to sign these Articles of Organization,
          that the above statements are true and correct to the best of my knowledge and belief and that my
          signature typed below constitutes my signature.



                                                    Toby Moskovits, ORGANIZER (signature)

                                                    Toby Moskovits , ORGANIZER




         Filed by:
         USACORP INC.
         325 DIVISION AVE
         STE 201
         BROOKLYN, NY 11211


         USACORP (RW)

         DRAWDOWN

         CUSTOMER REF# 28RIAVAC


         FILED WITH THE NYS DEPARTMENT OF STATE ON: 01/22/2019
                         FILE NUMBER: 190122010188; DOS ID: 5479162
DOS-1239-f-l 1 (Rev. 02/12)                                                                                     Page 1 of 1
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                                   AMENDED AND RESTATED
                                 LIMITED LIABILITY COMPANY
                                   OPERATING AGREEMENT
                                                  OF
                              286 RIDER AVE ACQUISITION LLC




           This First Amended and Restated Limited Liability Company Operating Agreement (this
 "Agreement") of 286       Rider Ave Acquisition LLC (the      "Company") is entered    into as of
September 16, 2019 by 286 Rider Ave Development LLC, a New York limited liability company
(the "Member"), pursuant to the terms of the New York Limited Liability Company Law (the
"Law") and this Agreement.


           WHEREAS, the Company has been formed as limited liability company pursuant to. and
in accordance with, the Law; and

           WHEREAS, the Company commenced on January 22, 2019. the date that the Articles of
Organization (the "Articles") were filed in the Office of the Secretary of State of the State of
New York (the "Secretary") in accordance with the Law and shall continue in perpetuity unless
dissolved in accordance with the terms of the Law.     The Members shall take any and all other
actions reasonably necessary to perfect and. except as otherwise provided in this Agreement, to
maintain the status of the Company as a limited liability company under the laws of the State of
New York.


           WHEREAS, the Member desires to amend and restate the Operating Agreement of the
Company dated as of August 15, 2019 in its entirety on the terms herein;


       NOW, THEREFORE,             in consideration of the promises and     the mutual covenants
contained herein and other good and valuable consideration, receipt and sufficiency of which are
acknowledged, the parties hereto set forth their agreement as follows:


      1.         Name.          The name of the limited liability company formed hereby is 286 Rider
                                Ave Acquisition LLC, (the "Company")


      2.        Purpose.       The Company is formed for the purpose of purchasing 286 Rider
                                Avenue, Bronx, NY (the "Premises") and to act on behalf of its
                               member    in connection     with the renovation and   operation of the
                               Premises and engaging in any and all activities necessary or incidental
                               to the foregoing.


      3.        Term.          The Company does not have a specific date of dissolution in addition
                               to the events of dissolution set forth by law and set forth in The
                               Articles of Organization.


      4.        Members.       The names and the business, residence, or mailing address of the sole
                               member is:


                                        286 Rider Ave Acquisition LLC
                                        679 Driggs Avenue
                                        Brooklyn NY 11211
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         5.      Management/Powers.


               286 Rider Ave Development LLC, the sole member of the Company, shall have the
sole power to do any and all acts necessary or convenient to or for the furtherance of the purposes
described herein. 286 Rider Ave Development LLC shall manage the affairs of the Company, and have
right, power, and authority to manage the day-to-day business, affairs, operations and activities of the
Company, and to execute on behalf of the Company all documents necessary and appropriate, to obtain
permits, licenses, contracts and anything necessary for the renovation of the premises, to obtain
mortgage and construction financing upon the premises, including but not limited to Loan Agreements,
Mortgages, Promissory Notes, Environmental Indemnities, Guarantees, Confessions of Judgment and
Disclosures thereof, to manage the property as a building, rental apartments, or hotel, to collect rents,
to sign leases, to evict tenants, to operate the bank account of the company, and shall have the power to
do any and all acts necessary or convenient to or for the furtherance of the purposes described herein,
including all powers, statutory or otherwise, possessed by members under the Limited Liability
Company Law of the State of New York (the "LLCL?").


        6.    Profits, Losses and Expenses of the Company.


        (a) All profits realized by the Company shall be:      a) first utilized to pay off debt and b) then
distributed to its sole member per its Membership Interests.


        (b) All expenses (including interest payments on any debt owed by the Company) incurred by
the Company     in running its daily operations shall be paid by the sole member based on its
proportionate share of Membership Interests it own.


        (c) All losses realized by the Company (which losses shall be deemed to have been realized
after the Initial Capital Investments and Operating Accounts have been depleted) shall be borne by the
sole member based on its proportionate share of profits it is entitled to.


        7.     Membership Interests.


                286 Rider Ave Development LLC                                1 00%



        8.      Books and Records.       The books and records of the Company shall be kept at: 679
Driggs Avenue, Brooklyn NY 11211.


          9.      Liability of Member.    The Members shall not have any liability for the obligations
or liabilities of the Company except to the extent provided in the LLCL and as provided herein.


        10.     Governing Law.           This Agreement shall be governed by. and construed under,
the laws of the State of New York, all rights and remedies being governed by said laws.



        11.     Interests and Certificates.


                a.      Interests.   Each  limited liability company interest in the Company shall
        constitute and shall remain a "security" within the meaning of and governed by (i) Article 8 of
        the Uniform Commercial Code (including Section 8- 1 02(a)( 1 5) thereof) as in effect from time
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     to time in the State of New York and (ii) the Uniform Commercial Code of any other
     applicable jurisdiction that now or hereafter substantially includes the 1994 revisions to Article
     8 thereof as adopted by the American Law Institute and the National Conference of
     Commissioners on Uniform State Laws and approved by the American Bar Association on
     February 14. 1995 and each limited liability company interest in the Company shall be treated
     as such a "security" for all purposes, including, without limitation perfection of the security
     interest therein     under Article 8 of each applicable Uniform Commercial Code and the
     Company hereby "opts in" to such provisions.                Notwithstanding any provision of this
     Agreement to the contrary, to the extent that any provision of this Agreement is inconsistent
    with any non-waivable provision of Article 8 of the Uniform Commercial Code as in effect in
    the State of New York (the "UCC"), such provision of Article 8 of the UCC shall be
    controlling.


             b.         Certificates.


                        (i)      Upon    the   issuance   of limited   liability company   interests   in   the
             Company to any Person in accordance with the provisions of this Agreement or with
             respect to any limited liability company interests that have already been issued by the
             Company and are currently outstanding and owned by any Person, without any further
             act, vote or approval of any Member, Officer or any Person, the Company shall issue
             one or more non-negotiable certificates in the name of such Person substantially in the
             form of Exhibit A attached hereto (a "Certificate"), which evidences the ownership of
             the limited liability company interests in the Company of such Person.              Each such
            Certificate shall be denominated in terms of the percentage of the limited liability
            company interests in the Company evidenced by such Certificate and shall be signed
            by an Officer or "authorized person'" on behalf of the Company.


                        (ii)    Without any further act, vote or approval of any Member, Officer or
            any Person, the Company shall issue a new Certificate in place of any Certificate
            previously issued         if the holder of the limited     liability company   interests in the
            Company represented by such Certificate, as reflected on the books and records of the
            Company:


                                (A)       makes proof by affidavit, in form and substance satisfactory to
                                the Company, that such previously issued Certificate has been lost,
                                stolen or destroyed;


                                (B)       requests the issuance of a new Certificate before the Company
                                has notice that such previously issued Certificate has been acquired by
                                a purchaser for value in good faith and without notice of an adverse
                                claim;


                                (C)       if requested by the Company, delivers to the Company a bond,
                                in form and substance satisfactory to the Company, with such surety
                                or sureties as the Company may direct, to indemnify the Company
                                against any claim that may be made on account of the alleged loss,
                                destruction or theft of the previously issued Certificate; and


                                (D)       satisfies any other reasonable requirements imposed by the
                                Company.
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                    (iii)   Upon a Member's transfer in accordance with the provisions of this
                            Agreement of any or all limited liability company interests in the
                            Company represented by a Certificate, the transferee of such limited
                            liability   companyinterests in the Company shall deliver such
                            Certificate to the Company for cancellation (executed by such
                            transferee on the reverse side thereof), and the Company shall
                            thereupon issue a new Certificate to such transferee for the
                            percentage of limited liability company interests in the Company
                            being transferred and. if applicable, cause to be issued to such
                            Member a new Certificate for that percentage of limited liability
                            company interests in the Company that were represented by the
                            canceled Certificate and that are not being transferred.



           c.      Filing Of Certificate of Division.


                   The filing of a certificate of division, adoption of a plan of division, amending
           of any organizational documents, or any other actions taken, permitted, or consented to
           in order to divide a Company into two or more Companies pursuant to a plan of
           division such as contemplated under the Delaware Limited Liability Company Act or
           any other similar requirement of law in any jurisdiction is prohibited.




                                (Signature on the next page)
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            IN WITNESS WHEREOF, the undersigned, intending to be legally bound hereby, have
duly executed this Operating Agreement as of the day and year written above.


                                                         SOLE MEMBER:


                                                        286 Rider Ave Development LLC


                                                        By its Manager:
                                                        286 Rider Ave Holdings LLC




                                                        By:         (
                                                        Name: Yephial Michael Lichtenstein
                                                        Title: Manager/Member
